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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

 In re:                                                   )   Case No. 08-36642-DOT
                                                          )
 CHESAPEAKE CORPORATION, et al.,                          )   Chapter 11
                                                          )
                                       Debtors.1          )
                                                          )
                                                          )

   FINAL ORDER UNDER 11 U.S.C. §§ 105, 361, 362, 363(b), 363(c), 364(c)(1), 364(c)(2),
      364(c)(3), 364(d)(1) AND 364(e), FED. R. BANKR. P. 2002, 4001 AND 9014, AND
      RULES 2002-1, 4001(a)-1 AND 9014-1 OF THE LOCAL BANKRUPTCY RULES
        (I) AUTHORIZING DEBTORS TO OBTAIN POSTPETITION FINANCING,
            (II) AUTHORIZING DEBTORS TO USE CASH COLLATERAL AND
 (III) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES

                      Upon the motion, dated December 29, 2008 (the “Motion”), of Chesapeake

 Corporation (“Chesapeake”) and its affiliated debtors, each as a debtor and debtor in possession

 (collectively, the “Debtors”) in the above-captioned cases (the “Cases”) for interim and final

 orders under sections 105, 361, 362, 363(b), 363(c), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1)

 and 364(e) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended, the

 “Bankruptcy Code”), Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure

 (as amended, the “Bankruptcy Rules”), and Rules 2002-1, 4001(a)-1 and 9014-1 of the Local

 1
           The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
           Chesapeake Corporation (6880), Chesapeake Printing and Packaging Company (9208), Chesapeake
           Pharmaceutical Packaging Company, Inc. (0010), Chesapeake International Holding Company (1532),
           WTM I Company (1080), Sheffield, Inc. (6314), Chesapeake Assets Company (5293), Chesapeake
           Recycling Company (9383), Chesapeake Display and Packaging Company (4207), The Chesapeake
           Corporation of Virginia (6783), Chesapeake Corporation (Wisconsin) (7682), Chesapeake Corporation
           (Massachusetts) (7686), Chesapeake Corporation (D.C.) (7684), Chesapeake Corporation (Illinois) (7685),
           Chesapeake Corporation (Louisiana) (7681), Chesapeake Forest Products Company, LLC (6880), Cary St.
           Company (9092), Delmarva Properties, Inc. (7160), and Stonehouse Inc. (2481).
 Benjamin C. Ackerly (VSB No. 09120)                                        Peter S. Partee (VSB No. 34140)
 Jason W. Harbour (VSB No. 68220)                                           HUNTON & WILLIAMS LLP
 HUNTON & WILLIAMS LLP                                                      200 Park Avenue, 53rd Floor
 Riverfront Plaza, East Tower                                               New York, New York 10166-0136
 951 East Byrd Street                                                       Telephone: (212) 309-1000
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 Attorneys for Debtors
 and Debtors in Possession
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 Bankruptcy Rules of the United States Bankruptcy Court for the Eastern District of Virginia (the

 “Local Bankruptcy Rules”) seeking:

                 (i)   authorization for the Debtors (together with the other Initial Guarantors (as

 defined below), the “Guarantors”)) to execute and deliver: (1) the Superpriority Debtor in

 Possession Priming Guaranty & Security Agreement dated as of December 30, 2008

 (substantially in the form attached to this Order as Exhibit A, and as hereafter amended,

 supplemented or otherwise modified from time to time in accordance with the terms hereof and

 thereof, the “DIP Guaranty Agreement”), guaranteeing the borrowings of up to $37,100,000 in

 principal amount, and other obligations, of the Debtors’ non-debtor affiliates, Chesapeake U.K.

 Holdings Limited (“UK Holdings”), Boxmore International Limited (“Boxmore”) and

 Chesapeake Plc (f/k/a Field Group Plc) (“Chesapeake Plc”; together with UK Holdings and

 Boxmore, the “Borrowers”), under that certain Third Amended and Restated Credit Agreement,

 dated as of December 30, 2008 (substantially in the form attached to this Order as Exhibit B, and

 as hereafter amended, supplemented or otherwise modified from time to time in accordance with

 the terms hereof and thereof, the “DIP Credit Agreement”; together with all other agreements,

 documents and instruments delivered in connection therewith, including, without limitation the

 DIP Guaranty Agreement, the “DIP Documents”) among Chesapeake, the Borrowers, Wachovia

 Bank, National Association (“Wachovia”), as administrative agent (in such capacity, the “DIP

 Agent”), the Lenders (as defined in the DIP Credit Agreement) (the “DIP Lenders”) and

 Wachovia Capital Markets, LLC, as sole lead arranger and the sole book runner, all on the terms

 and conditions set forth in this Order and the DIP Guaranty Agreement; and (2) such other DIP

 Documents as may be necessary or appropriate in connection therewith;




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                 (ii)    authorization for Chesapeake to execute and deliver the DIP Credit

 Agreement;


                 (iii)   authorization for the Debtors to obtain credit and/or provide guaranties

 under the DIP Documents on an interim basis in an aggregate principal amount of up to

 $18,550,000 plus interest, fees, expenses and other amounts payable in connection therewith, in

 accordance with the terms of the DIP Documents;


                 (iv)    authorization for the Debtors to pay the principal, interest, fees, expenses

 and other amounts payable under the DIP Documents, as such amounts become due, and to

 perform such other and further acts as may be necessary or appropriate in connection with the

 DIP Documents;


                 (v)     the grant to the DIP Lenders of allowed superpriority administrative

 expense claim status in each of the Cases for all obligations of the Debtors under the DIP

 Documents (collectively, the “DIP Obligations”);


                 (vi)    the grant to the DIP Lenders of automatically perfected security interests

 in and liens on all of the DIP Collateral (as defined below), including, without limitation, all

 property constituting “cash collateral” as defined in section 363(a) of the Bankruptcy Code,

 including, without limitation, any cash, securities or other property (and the proceeds thereof)

 maintained in any account or accounts with any Depository Institution (as defined below) (the

 “Cash Collateral”), which liens shall be subject to the priorities set forth herein;




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                 (vii)   authorization for, and direction to, the Debtors to pay the principal,

 interest, fees, expenses and other amounts payable under the DIP Documents (including, without

 limitation, the DIP Guaranty Agreement) as they become due;


                 (viii) authorization for the Debtors to: (1) use the Cash Collateral pursuant to

 sections 105, 361, 362 and 363 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001 and 9014,

 and Rules 2002-1 and 9014-1 of the Local Bankruptcy Rules, and all other Prepetition Collateral

 (as defined in paragraph 5(d) below); and (2) provide adequate protection to the Prepetition

 Lenders (as defined below) and the Prepetition Administrative Agent (as defined below; together

 with the Prepetition Lenders, the “Prepetition Secured Parties”) under that certain Second

 Amended and Restated Credit Agreement, dated as of February 23, 2004 (as heretofore

 amended, restated, modified or supplemented from time to time, the “Prepetition Credit

 Agreement”; together with all other documentation executed and delivered in connection with

 any of the foregoing, the “Prepetition Loan Documents”), among Chesapeake, as the U.S.

 Borrower, the Borrowers, as the U.K. Borrowers, the various financial institutions and other

 persons from time to time parties thereto (the “Prepetition Lenders”) and Wachovia, as

 administrative agent (in such capacity, the “Prepetition Administrative Agent”), Bank of

 America, N.A. and Citicorp North America, Inc. (“Citicorp”), as syndication agents, HSBC

 Bank Plc, as documentation agent, Wachovia Capital Markets, LLC, as a Co-Lead Arranger and

 the Sole Book Runner, and Banc of America Securities LLC and Citicorp, as Co-Lead

 Arrangers;


                 (ix)    the scheduling, pursuant to Bankruptcy Rule 4001, of an interim hearing

 (the “Interim Hearing”) on the Motion to be held before this Court to consider entry of the

 proposed interim order annexed to the Motion (the “Interim Order”); and


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                 (x)   scheduling, pursuant to Bankruptcy Rule 4001, of a final hearing (the

 “Final Hearing”) for this Court to consider entry of a final order (this “Order”) authorizing the

 Debtor on a final basis to continue to use the Cash Collateral, and authorizing and approving the

 relief requested in the Motion to become effective pursuant to this Order,


                 and the Interim Hearing having been held by this Court on December 30, 2008,

 the Court having entered the Interim Order on December 30, 2008, the Final Hearing having

 been held on January 20, 2009, and upon the record of the Interim Hearing and Final Hearing,

 and after due deliberation and consideration and sufficient cause appearing therefor;

                 IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

                 Disposition; Jurisdiction and Venue; Commencement of Cases; Appointment of

                 Committee

                 1.    The Motion is granted in accordance with the terms of this Order. Any

 objections to the Motion with respect to the entry of this Order that have not been withdrawn,

 waived or settled, and all reservations of rights included therein, are hereby denied and

 overruled.

                 2.    This Court has core jurisdiction over the Cases commenced on December

 29, 2008 (the “Petition Date”), this Motion, and the parties and property affected hereby

 pursuant to 28 U.S.C. §§ 157(b) and 1334. Venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409.        The statutory predicates for the relief sought herein are

 sections 105, 361, 362, 363, 364, and 507 of the Bankruptcy Code, Bankruptcy Rules 4001, 2002

 and 9014 and Rules 2002-1 and 9014-1 of the Local Bankruptcy Rules.

                 3.    The Debtors are continuing in possession of their property, and operating

 and managing their businesses, as debtors in possession pursuant to sections 1107 and 1108 of



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 the Bankruptcy Code. No request has been made for the appointment of a trustee or examiner.

 The official committee of unsecured creditors (the “Committee”) was appointed in the Cases on

 January 2, 2009 pursuant to section 1102 of the Bankruptcy Code.

                 Notice

                 4.       Notice of the Motion, the relief requested therein and the Final Hearing

 was served by the Debtors on their fifty largest unsecured creditors (on a consolidated basis), the

 Prepetition Administrative Agent, the other Prepetition Secured Parties, the DIP Agent, all

 parties who have requested notice in these Cases, and the United States Trustee for the Eastern

 District of Virginia (“U.S. Trustee”). The notice given by the Debtors of the Motion, the relief

 requested therein and the Final Hearing constitutes due, proper, timely and sufficient notice

 thereof, complies with Bankruptcy Rules 4001(b) and (c), and no further notice of the relief

 sought at the Final Hearing and the relief granted herein is necessary or required. A reasonable

 opportunity to object or be heard regarding the Motion, the relief requested therein and the Final

 Hearing has been afforded to all interested persons and entities.

                 Debtors’ Stipulations

                 5.       Without prejudice to the rights of any other party (but subject to the

 limitations thereon contained in paragraph 34 below) the Debtors admit, stipulate, and agree that:

                (a)   as of the Petition Date, the Debtors, among others, were justly and
 lawfully indebted and liable, without defense, counterclaim or offset of any kind, to the
 Prepetition Secured Parties in the aggregate U.S. dollar equivalent principal amount of not less
 than $245,984,567.00 (inclusive of letters of credit), plus, accrued and unpaid interest thereon
 and costs and expenses including, without limitation, attorneys’ fees, agent’s fees, other
 professional fees and disbursements and other obligations owing under the Prepetition Loan
 Documents (collectively, the “Prepetition Indebtedness”);

                 (b)     the Prepetition Indebtedness constitutes the legal, valid and binding
 obligations of the Debtors, among others, enforceable in accordance with its terms, and no
 portion of the Prepetition Indebtedness or any payments made to the Prepetition Secured Lenders
 or applied to the obligations owing under the Prepetition Loan Documents prior to the Petition
 Date is subject to avoidance, subordination, recharacterization, recovery, attack, offset,


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 counterclaim, defense or claim (as defined in the Bankruptcy Code) of any kind pursuant to the
 Bankruptcy Code or applicable nonbankruptcy law;

                 (c)    each Debtor hereby forever waives and releases any and all Claims (as
 defined in the Bankruptcy Code), counterclaims, causes of action, defenses or setoff rights
 against each of the Prepetition Secured Parties, whether arising at law or in equity, including any
 recharacterization, subordination, avoidance or other claim arising under or pursuant to
 section 105 or chapter 5 of the Bankruptcy Code or under any other similar provisions of
 applicable state or federal law;

                 (d)    pursuant to a certain (i) Amended and Restated Security Agreement dated
 as of February 23, 2004, and (ii) Debenture dated as of 19 May 2008 (in each case as heretofore
 amended, restated, modified, ratified or supplemented from time to time, together with any and
 all other security agreements, pledge agreements, mortgages, fixture filings, transmitting utility
 filings, deeds of trust, financing statements, assignments or other security documents, the
 “Prepetition Collateral Documents”), the Debtors, among others, have granted valid, binding,
 perfected, enforceable, first priority liens upon, and security interests in, the property described
 in the Prepetition Collateral Documents (collectively, the “Prepetition Collateral”) to the
 Prepetition Administrative Agent for the benefit of the Prepetition Secured Parties;

                 (e)      the Prepetition Administrative Agent’s first priority liens upon, and
 security interests in, the Prepetition Collateral, for the benefit of the Prepetition Secured Parties,
 are not subject to avoidance, subordination, recharacterization, recovery, attack, offset,
 counterclaim, defense or Claim (as such term is defined in the Bankruptcy Code) of any kind
 pursuant to the Bankruptcy Code or applicable non-bankruptcy law; and

                (f)    substantially all cash, securities or other property (and the proceeds
 thereof) as of the Petition Date, and all cash, securities or other property (and the proceeds
 thereof) in which the Prepetition Secured Parties have a perfected security interest pursuant to
 applicable nonbankruptcy law or maintained by the Debtors in any account or accounts with the
 Prepetition Secured Parties (collectively, the “Depository Institutions”) were subject to rights of
 set-off and valid, perfected, enforceable, first priority and second priority liens under the
 Prepetition Loan Documents and applicable law, for the benefit of the Prepetition Secured
 Parties. All proceeds of the Prepetition Collateral (including cash on deposit at the Depository
 Institutions as of the Petition Date, securities or other property) are Cash Collateral of the
 Prepetition Secured Parties.

                 Findings Regarding the DIP Guaranty Agreement

                 6.     Good cause has been shown for the entry of this Order.

                 7.     The Debtors have an immediate need to obtain the funds guaranteed by the

 DIP Guaranty Agreement, and to use the Prepetition Collateral (including, without limitation, the

 Cash Collateral) in order to, among other things, preserve the value of the Debtors’ businesses,



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 and those of their non-debtor affiliates, finance operating expenses of the Debtors and their non-

 debtor affiliates in accordance with the Budget (as defined in the DIP Credit Agreement), to pay

 fees and expenses associated with the Cases and for general corporate purposes of the Debtors.

 The Debtors’ use of the Prepetition Collateral (including, without limitation, the Cash Collateral)

 is necessary to ensure that the Debtors have sufficient working capital and liquidity to preserve

 and maintain the value of the Debtors’ estates.

                  8.    The Debtors are unable to obtain financing on more favorable terms from

 sources other than the DIP Lenders pursuant to, and for the purposes set forth in, the DIP

 Documents and are unable to obtain adequate unsecured credit allowable under section 503(b)(1)

 of the Bankruptcy Code as an administrative expense. The Debtors are also unable to obtain

 secured credit allowable under sections 364(c)(1), 364(c)(2) and 364(c)(3) of the Bankruptcy

 Code for the purposes set forth in the DIP Documents without the Debtors granting the DIP

 Liens (as defined below) and the Superpriority Claims (as defined below) under the terms and

 conditions set forth in this Order and the DIP Documents.

                  9.    The terms of the DIP Documents and the use of the Prepetition Collateral

 (including, without limitation, the Cash Collateral) pursuant to this Order and the DIP Credit

 Agreement are fair and reasonable, reflect the Debtors’ exercise of prudent business judgment

 consistent with their fiduciary duties and constitute reasonably equivalent value and fair

 consideration.

                  10.   The DIP Documents and the use of the Prepetition Collateral (including,

 without limitation, the Cash Collateral) have been the subject of extensive negotiations

 conducted in good faith and at arms’ length among the Debtors, the DIP Agent, the DIP Lenders,

 and the Prepetition Administrative Agent, and all of the Debtors’ obligations and indebtedness




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 arising under or in connection with the DIP Documents, including without limitation: (a) all

 loans made to, guaranties issued by and letters of credit issued for the account of the Debtors

 pursuant to the DIP Credit Agreement; and (b) all other “Obligations” of the Debtors under the

 DIP Documents (as that term is defined in the DIP Documents), this Order or in respect of

 overdrafts and related liabilities arising from treasury, depository and cash management services,

 or in connection with any automated clearing house transfers of funds, owing to the DIP Agent

 or any DIP Lender shall be deemed to have been extended by the DIP Agent, the DIP Lenders

 and their respective affiliates in “good faith”, as such term is used in section 364(e) of the

 Bankruptcy Code, and in express reliance upon the protections set forth therein, and shall be

 entitled to the full protection of section 364(e) of the Bankruptcy Code in the event that this

 Order or any provision hereof is vacated, reversed or modified, on appeal or otherwise.

                 11.    The Required Lenders (as defined in the Prepetition Credit Agreement)

 have consented to the granting of the DIP Liens.

                 12.    The Debtors have requested entry of this Order pursuant to Bankruptcy

 Rules 4001(b)(2) and 4001(c)(2). Absent granting the interim relief sought by this Order, the

 Debtors’ estates will be immediately and irreparably harmed.         Consummation of the DIP

 Financing and the use of the Prepetition Collateral (including, without limitation, the Cash

 Collateral) in accordance with this Order and the DIP Documents are, therefore, in the best

 interest of the Debtors’ estates.

                 13.    The Debtors are hereby authorized to enter into, and deliver, the DIP

 Guaranty Agreement, and to guarantee the borrowings and other obligations of the Borrowers

 arising under the DIP Credit Agreement and other DIP Documents.




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                 14.   In furtherance of the foregoing and without further approval of this Court,

 each Debtor is authorized and directed to perform all acts and to execute and deliver all

 instruments and documents and to pay all fees, expenses and other amounts (including, without

 limitation, all amounts required to be paid pursuant to Section 5.1.2 of the DIP Credit

 Agreement) that the DIP Agent determines to be reasonably required or necessary for the

 Debtors’ performance of their obligations under the DIP Documents, including without

 limitation:

                 (i)           the execution, delivery and performance of the DIP Documents;

                 (ii)           the execution, delivery and performance of one or more
         amendments, waivers, consents or other modifications to and under the DIP Documents,
         in each case in such form as the Debtors, the DIP Agent and the requisite DIP Lenders
         may agree, and no further approval of this Court shall be required for amendments,
         waivers, consents or other modifications to and under the DIP Documents (and any fees
         paid in connection therewith) unless such amendments, waivers, consents or other
         modifications: (A) shorten the Maturity Date (as defined in the DIP Credit Agreement)
         on terms and conditions other than those set forth in the DIP Credit Agreement,
         (B) increase the Commitments (as defined in the DIP Credit Agreement) or the rate of
         interest payable on the Loans, or (C) change any Event of Default, add any covenants or
         amend the covenants therein in any such case to be materially more restrictive; provided,
         further, that copies of any amendments, waivers, consents or other modifications to or
         under the DIP Documents shall be provided by the Debtors to counsel to the Committee
         and the Debtors shall provide the Committee with reasonable prior notice of any
         amendments, waivers, consents, or other modifications to or under the DIP documents (or
         the material terms thereof); and

                (iii)        the performance of all other acts required under or in connection
         with the DIP Documents.

                 15.   Upon execution and delivery of the DIP Documents to which a Debtor is a

 party, the DIP Documents shall constitute valid and binding obligations of such Debtor,

 enforceable against such Debtor in accordance with the terms of this Order and the DIP

 Documents. No obligation, payment, transfer or grant of security under the DIP Documents or

 this Order shall be stayed, restrained, voidable, avoidable or recoverable under the Bankruptcy

 Code or under any applicable nonbankruptcy law (including without limitation, under


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 sections 502(d), 547, 548 or 549 of the Bankruptcy Code or under any applicable state Uniform

 Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or common

 law), or subject to any defense, reduction, setoff, recoupment or counterclaim.

                 Superpriority Claims

                 16.    Except to the extent expressly set forth in this Order in respect of the

 Carve Out (as defined below), pursuant to section 364(c)(1) of the Bankruptcy Code, all of the

 DIP Obligations shall constitute allowed senior administrative claims (the “Superpriority

 Claims”) against each of the Debtors with priority over any and all administrative expenses,

 adequate protection claims and all other claims against each of the Debtors, now existing or

 hereafter arising, of any kind whatsoever, including without limitation, all administrative

 expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over

 any and all administrative expenses or other claims arising under sections 105, 326, 328, 330,

 331, 503(b), 506(c), 507(a), 507(b), 726, 1113 or 1114 of the Bankruptcy Code (including the

 Adequate Protection Claims (as defined below) granted hereunder), whether or not such

 expenses or claims may become secured by a judgment lien or other nonconsensual lien, levy or

 attachment, which Superpriority Claims shall be payable from and have recourse to all

 prepetition and postpetition property of the Debtors and all proceeds thereof, including, without

 limitation, subject to entry of the Final Order, all proceeds or other amounts received in respect

 of the Debtors’ claims and causes of action arising under state or federal law under sections 541

 and 542 of the Bankruptcy Code (collectively, the “Causes of Action”), but not proceeds or

 other amounts received in respect of the Debtors’ claims and causes of actions arising under

 sections 544, 545, 547, 548, 549, 550 and 551 of the Bankruptcy Code (the “Avoidance

 Actions”).




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                 17.   For purposes hereof, the “Carve Out” shall mean: (i) all fees required to be

 paid to the Clerk of the Bankruptcy Court and to the Office of the U.S. Trustee under section

 1930(a) of title 28 of the United States Code; and (ii) all allowed fees and expenses incurred in

 the Cases by professionals retained by the Debtors or by the Committee in amount not to exceed

 the sum of (A) all allowed fees and expenses (whether allowed before or after such Termination

 Event or Triggering 363 Sale) of such professionals and individual Committee members for

 travel up to an aggregate of $12,500, accrued and unpaid prior to the occurrence of a

 Termination Event or Triggering 363 Sale, up to the amounts set forth in the Budget for such

 professionals as of the date such Termination Event or Triggering 363 Sale occurs, plus (B) after

 the occurrence of a Triggering 363 Sale, an amount not to exceed $1,250,000 (as such amount

 may be reduced by any expenses actually paid in respect of individual Committee member travel

 expenses permitted to be paid pursuant to the preceding clause (A)) in the aggregate, or (ii) after

 the occurrence a Termination Event other than a Triggering 363 Sale, an amount not to exceed

 $2,000,000 (as such amount may be reduced by any expenses actually paid in respect of

 individual Committee member travel expenses permitted to be paid pursuant to the preceding

 clause (A)) in the aggregate. The Carve Out shall not be reduced by any allowed professional

 fees or expenses paid in the Cases prior to the occurrence of a Termination Event, or any fees,

 expenses, indemnities or other amounts paid to the DIP Agent or the DIP Lenders and their

 respective attorneys and agents under the DIP Credit Agreement or otherwise, provided that: (x)

 no portion of the Carve Out shall be available to pay any such professional fees and expenses

 incurred in connection with the initiation or prosecution of any claims, causes of action,

 adversary proceedings or other litigation or any threatened litigation against the DIP Agent, the

 DIP Lenders or the Prepetition Secured Parties; and (y) nothing in this Order shall impair the




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 right of any party to object to the reasonableness of any such fees or expenses to be paid by the

 Debtors’ estates. For the purposes hereof, “Termination Event” shall mean the occurrence and

 continuance of an Event of Default or the occurrence of a Triggering 363 Sale (as defined

 below). For the purposes hereon, “Triggering 363 Sale” means the closing of any 363 Sale (as

 defined in the DIP Credit Agreement) if such 363 Sale does not result in sufficient net proceeds

 to pay the professional fees and expenses in the Budget, including without limitation professional

 fees and expenses in the Budget that have been incurred but not paid prior to such 363 Sale.

                 Payment of Professional Fees and Expenses

                 18.   Prior to the occurrence of a Termination Event, the Debtors shall be

 permitted to pay compensation and reimbursement of expenses allowed under Sections 330 and

 331 of the Bankruptcy Code as and when payable under applicable orders of this Court; provided

 that nothing herein shall be construed to impair the ability of any party to object to any of such

 fees, expenses, reimbursements or compensation.

                 DIP Liens

                 19.   As security for the DIP Obligations, effective and perfected upon the date

 of this Order and without the necessity of the execution by the Debtors (or recordation or other

 filing) of security agreements, control agreements, pledge agreements, financing statements,

 mortgages or other similar documents, or the possession or control by the DIP Agent of any

 Collateral, the following security interests and liens are hereby granted by the Debtors to the DIP

 Agent, for its own benefit and the benefit of the DIP Lenders (all property identified in

 subparagraphs (a), (b) and (c) below being collectively referred to as the “DIP Collateral”),

 subject only to the Carve Out (all such liens and security interests granted to the DIP Agent, for




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 its benefit and for the benefit of the DIP Lenders, pursuant to this Order and the DIP Documents,

 the “DIP Liens”):

                (a)     First Lien On Unencumbered Property. Pursuant to section 364(c)(2) of
 the Bankruptcy Code, the DIP Agent (for its own benefit and the benefit of the DIP Lenders) is
 hereby granted a valid, binding, continuing, enforceable, fully-perfected first priority lien on, and
 security interest in, all tangible and intangible prepetition and postpetition property of the
 Debtors, whether existing on or as of the Petition Date or thereafter acquired, that, on or as of the
 Petition Date, is not subject to valid, perfected, enforceable and unavoidable liens or are not
 subject to valid, enforceable and unavoidable liens perfected subsequent to the Petition Date as
 permitted by section 546(b) of the Bankruptcy Code (collectively, the “Unencumbered
 Property”), including without limitation, any and all unencumbered cash, accounts receivable,
 other rights to payment, inventory, general intangibles, contracts, documents, instruments,
 securities, chattel paper, owned real estate, real property leaseholds, fixtures, machinery,
 equipment, deposit accounts, patents, copyrights, trademarks, tradenames, rights under license
 agreements and other intellectual property, capital stock of or other ownership interests in
 (including partnership, member or trust interests) the subsidiaries of the Debtors, wherever
 located, and the proceeds, products, rents and profits thereof, whether arising from
 section 552(b) of the Bankruptcy Code or otherwise, of all of the foregoing, provided that, the
 Unencumbered Property shall not include the proceeds of Avoidance Actions.

                 (b)      Liens Junior To Certain Existing Liens. Pursuant to section 364(c)(3) of
 the Bankruptcy Code, the DIP Agent (for its own benefit and the benefit of the DIP Lenders) is
 hereby granted a valid, binding, continuing, enforceable, fully-perfected junior lien on, and
 security interest in all tangible and intangible prepetition and postpetition property of the Debtors
 (other than the property described in subparagraph (a) and (c) of this paragraph 19, as to which
 the DIP Liens will be as described in such subparagraphs), whether now existing or hereafter
 acquired, that is subject to valid, perfected, enforceable and unavoidable liens in existence
 immediately prior to the Petition Date or to valid, enforceable and unavoidable liens in existence
 immediately prior to the Petition Date that are perfected after the Petition Date as permitted by
 section 546(b) of the Bankruptcy Code, which security interests and liens in favor of the DIP
 Agent and the DIP Lenders are immediately junior only to such valid, perfected and unavoidable
 liens.

                 (c)     Liens Priming Prepetition Secured Lenders’ Liens.                Pursuant to
 section 364(d)(1) of the Bankruptcy Code, the DIP Agent (for its own benefit and the benefit of
 the DIP Lenders) is hereby granted a valid, binding, continuing, enforceable, fully-perfected first
 priority, senior priming lien on, and security interest in, all Prepetition Collateral. The DIP Liens
 on the Prepetition Collateral shall be senior in all respects to the security interests in, and liens
 on, the Prepetition Collateral of the Prepetition Administrative Agent (for the benefit of itself and
 the Prepetition Secured Parties) (including, without limitation, the Adequate Protection Liens (as
 defined below), but shall not be senior to any valid, perfected, enforceable and unavoidable
 security interests in and liens of other parties, if any, on the Prepetition Collateral existing as of
 the Petition Date or to any valid, perfected and unavoidable interests in such property arising out
 of liens to which the liens of the Prepetition Administrative Agent (for the benefit of itself and



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 the other Prepetition Secured Parties) become subject after the Petition Date as permitted by
 section 546(b) of the Bankruptcy Code.

                 (d)    Liens Senior To Certain Other Liens. The DIP Liens and the Adequate
 Protection Liens shall not be: (i) subject or subordinate to: (A) any lien or security interest that
 is avoided and preserved for the benefit of the Debtors and their estates under section 551 of the
 Bankruptcy Code, except for liens on proceeds of Avoidance Actions; or (B) any liens arising
 after the Petition Date, including without limitation, any liens or security interests granted in
 favor of any federal, state, municipal or other governmental unit, commission, board or court for
 any liability of the Debtors; or (ii) subordinated to or made pari passu with any other lien or
 security interest under sections 363 or 364 of the Bankruptcy Code or otherwise.

                 Protection of DIP Lenders’ Rights

                 20.    So long as there are any DIP Obligations or the DIP Lenders have any

 Commitment (as defined in the DIP Credit Agreement) under the DIP Credit Agreement, the

 Prepetition Administrative Agent and the other Prepetition Secured Parties shall take no action to

 foreclose upon or recover in connection with the liens granted pursuant to the Prepetition Loan

 Documents or this Order, or otherwise exercise remedies against any DIP Collateral of the

 Debtors or their subsidiaries without the prior written consent of the DIP Agent.

                 Remedies After Event of Default

                 21.    The automatic stay provisions of section 362 of the Bankruptcy Code are

 vacated and modified to the extent necessary to permit the DIP Agent and the DIP Lenders to

 exercise, (a) immediately upon the occurrence of an Event of Default, all rights and remedies

 under the DIP Documents, other than those rights and remedies against the DIP Collateral as

 provided in clause (b) below, and (b) upon the occurrence and during the continuance of an

 Event of Default, and the giving of five business days’ prior written notice to the Debtors (with a

 copy to respective counsel for the Prepetition Administrative Agent, the Committee and to the

 U.S. Trustee for the Eastern District of Virginia), all rights and remedies against the DIP

 Collateral provided for in the DIP Documents and this Order (including, without limitation, the

 right to setoff monies of the Debtors in accounts maintained with the DIP Agent or any DIP


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 Lender). In any hearing regarding any exercise of rights or remedies, the only issue that may be

 raised by any party in opposition thereto shall be whether, in fact, an Event of Default has

 occurred and is continuing, and each of the Debtors and all other parties in interest are hereby

 deemed to have waived any right to seek relief, including without limitation, under section 105

 of the Bankruptcy Code, to the extent such relief would in any way impair or restrict the rights

 and remedies of the DIP Agent or the DIP Lenders set forth in this Order or the DIP Documents.

 In no event shall the DIP Agent, the DIP Lenders, the Prepetition Administrative Agent or any of

 the other Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or any

 similar doctrine with respect to the DIP Collateral. The DIP Agent’s or any DIP Lender’s delay

 or failure to exercise rights and remedies under the DIP Documents or this Order shall not

 constitute a waiver of the DIP Agent’s or the DIP Lenders’ rights hereunder, thereunder or

 otherwise, unless any such waiver is pursuant to a written instrument executed in accordance

 with the terms of the DIP Credit Agreement.

                 Limitation On Charging Expenses Against DIP Collateral

                 22.    Notwithstanding anything to the contrary contained herein, subject to and

 effective upon entry of the Final Order, except to the extent of the Carve Out, (a) no costs or

 expenses of administration of the Cases or any future proceeding that may result therefrom,

 including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be

 charged against or recovered from the DIP Collateral or the Prepetition Collateral pursuant to

 section 506(c) of the Bankruptcy Code or any similar principle of law, without the prior written

 consent of the DIP Agent or the Prepetition Administrative Agent, as the case may be, (b) no

 such consent shall be implied from any other action, inaction, or acquiescence by the DIP Agent

 or the Prepetition Administrative Agent, (c) nothing contained in this Order shall be deemed to




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 be a consent by the DIP Agent, the DIP Lenders or the Prepetition Secured Parties to any charge,

 lien, assessment or claim against the DIP Collateral or the Prepetition Collateral under

 section 506(c) of the Bankruptcy Code or otherwise, (d) on the date of entry of the Bidding

 Procedures Order (as defined in the DIP Credit Agreement), the Debtors may pay any accrued

 but unpaid expenses of professionals plus the $1,000,000 deposit in respect of the 363 Asset

 Purchase Agreement (as defined in the DIP Credit Agreement) and (e) the reimbursement of

 expenses as contemplated by the 363 Asset Purchase Agreement shall be paid in accordance with

 the terms of the 363 Asset Purchase Agreement.

                 Payments Free and Clear

                 23.    Any and all payments or proceeds remitted (a) to the DIP Agent on behalf

 of the DIP Lenders or (b) without prejudice to the right of any other party (but subject to the

 limitations thereon described in paragraph 34 below), to the Prepetition Administrative Agent on

 behalf of the Prepetition Secured Parties, in each case, pursuant to the provisions of this Order or

 any subsequent order of this Court shall be received free and clear of any claim, charge,

 assessment or other liability, including without limitation, any such claim or charge arising out of

 or based on, directly or indirectly, sections 552(b) (whether asserted or assessed by, through or

 on behalf of the Debtors) or, subject to the entry of this Order, 506(c) of the Bankruptcy Code.

                 Use Of Prepetition Collateral (including Cash Collateral)

                 24.    The Debtors are hereby authorized to use the Prepetition Collateral

 (including the Cash Collateral) during the period from the Petition Date through and including

 the earlier of: (a) the Stated Maturity Date (as defined in the DIP Credit Agreement) (whether

 such Stated Maturity Date occurs upon acceleration of any Loan (as defined in the DIP Credit

 Agreement) pursuant to sections 8.2 or 8.3 of the DIP Credit Agreement or otherwise); and (b)




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 the consummation of the 363 Sale (as defined in the DIP Credit Agreement), for the same

 purposes as set forth in and in accordance with the terms and conditions of this Order, the Budget

 and the DIP Documents; provided that, (y) the Prepetition Secured Lenders are granted adequate

 protection as hereinafter set forth, and (z) except on the terms of this Order, the Debtors shall be

 enjoined and prohibited from at any time using the Cash Collateral. All parties in interest

 reserve their respective rights with respect to any security interest in or right to use any asset

 remaining in the Debtors’ estates after consummation of a 363 Sale, including without limitation

 any cash or cash proceeds of such 363 Sale.

                 Adequate Protection

                 25.     The Prepetition Administrative Agent and the other Prepetition Secured

 Parties are entitled, pursuant to sections 105, 361, 363 and 364 of the Bankruptcy Code, to

 adequate protection of their interests in the Prepetition Collateral, including the Cash Collateral,

 in an amount equal to the Collateral Diminution (as defined below). As used in this Order,

 “Collateral Diminution” shall mean an amount equal to the diminution of the value of the

 Prepetition Collateral upon which any of the Prepetition Secured Parties have valid, perfected,

 enforceable and unavoidable liens or security interests from and after the Petition Date for any

 reason provided for in the Bankruptcy Code, including, without limitation, the priming of the

 Prepetition Administrative Agent’s security interests in and liens on the Prepetition Collateral by

 the DIP Liens, and the depreciation, sale, loss or use of such Prepetition Collateral (including,

 without limitation, Cash Collateral), whether in accordance with the terms and conditions of this

 Order, the DIP Credit Agreement or otherwise, cash payments from the proceeds of the

 Prepetition    Collateral    made   to   the   Prepetition   Administrative   Agent   pursuant   to

 subparagraph 25(f) of this Order shall not constitute Collateral Diminution. There shall not be




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 any presumption that (x) expenditures of Cash Collateral and proceeds of the DIP Financing, in

 accordance with the Budget does or does not constitute Collateral Diminution, or (y) any

 subsequent waiver of the Debtors’ rights under section 506(c) of the Bankruptcy Code under

 paragraph 22 of this Order alters the manner in which Collateral Diminution should be

 determined. As adequate protection for, and to the extent of, any Collateral Diminution, the

 Prepetition Administrative Agent and the Prepetition Secured Parties are hereby granted the

 following:

                  (a)    Adequate Protection Claims. Allowed superpriority administrative claims
 as provided in section 507(b) of the Bankruptcy Code, to the extent of any Collateral
 Diminution, with priority in payment over any and all administrative expenses of the kinds
 specified or ordered pursuant to any provision of the Bankruptcy Code, including without
 limitation, sections 326, 328, 330, 331 and 726 of the Bankruptcy Code, and shall at all times be
 senior to the rights of the Debtors, and any successor trustee or any creditor, in the Cases or any
 subsequent proceedings under the Bankruptcy Code (the “Adequate Protection Claims”),
 which Adequate Protection Claims shall have recourse to and be payable from all pre- and
 post-petition property of the Debtors including, without limitation, (other than Avoidance
 Actions), the proceeds or property recovered in respect of Causes of Action. The Adequate
 Protection Claims shall be subject and subordinate only to: (i) the Carve Out; and (ii) the
 Superpriority Claims granted in respect of the DIP Obligations. Except to the extent expressly
 set forth in this Order or the DIP Credit Agreement, the Prepetition Administrative Agent and the
 other Prepetition Secured Parties shall not receive or retain any payments, property or other
 amounts in respect of the Adequate Protection Claims unless and until all DIP Obligations shall
 have indefeasibly been paid in full in cash and the DIP Commitments have been terminated.

                  (b)   Adequate Protection Liens. As security for the payment of the amount of
 any Collateral Diminution, the Prepetition Administrative Agent (for itself and for the benefit of
 the Prepetition Secured Parties) is hereby granted (effective and perfected upon the date of this
 Order and without the necessity of the execution by the Debtors of security agreements, pledge
 agreements, mortgages, financing statements or other agreements) a valid, perfected replacement
 security interest in and lien on all of the Collateral including, without limitation, (other than
 Avoidance Actions), the proceeds or property recovered in respect of Causes of Action (the
 “Adequate Protection Liens”), to the extent of any Collateral Diminution, subject and
 subordinate only to: (i) valid, perfected and enforceable prepetition liens (if any) which are
 senior to the Prepetition Secured Parties’ liens or security interests as of the Petition Date or to
 valid and unavoidable liens in existence immediately prior to the Petition Date that are perfected
 after the Petition Date as permitted by section 546(b) of the Bankruptcy Code; (ii) the DIP Liens
 and any liens on the Collateral senior to such DIP Liens; and (iii) the Carve Out.

              (c)     Adequate Protection Priorities. The Adequate Protection Claims and the
 Adequate Protection Liens granted pursuant to subparagraphs 25(a) and 25(b) above shall have


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 the same relative priority vis-a-vis the DIP Collateral as the security interests and liens held by
 the Prepetition Administrative Agent to secure the Working Capital Obligations bore to the
 security interests and liens held by the Prepetition Administrative Agent to secure the Revolver
 Obligations and US Term Obligations in accordance with the Prepetition Loan Documents. The
 application of payments received with respect to the foregoing shall be made in the order of
 priority as set forth in the Prepetition Loan Documents.

                 (d)   Adequate Protection Payments. As adequate protection, the Prepetition
 Administrative Agent (for the benefit of itself and the Prepetition Secured Parties) shall receive
 from the Debtors: (i) all amounts owed on account of any Obligations (as defined in the
 Prepetition Credit Agreement) owed to any Prepetition Lender under any Rate Protection
 Agreement (as defined in the Prepetition Credit Agreement); and (ii) the monthly payment of
 current interest and letter of credit fees at the applicable rates pursuant to the applicable
 Prepetition Loan Documents (including interest calculated at the Base Rate (as defined in the
 Prepetition Credit Agreement)), and all other current fees and disbursements (including, but not
 limited to, the amounts set forth in clause (ii) of subparagraph 25(e) below).

                 (e)     Fees and Expenses. As additional adequate protection, subject to
 section 506(b) of the Bankruptcy Code, the Debtors shall pay indefeasibly in cash: (i) the
 reasonable professional fees and expenses (including, but not limited to, the fees and
 disbursements of counsel, third-party consultants, including financial consultants, and auditors)
 incurred by the Prepetition Administrative Agent under the Prepetition Credit Agreement arising
 prior to the Petition Date; and (ii) on a current basis, the reasonable professional fees and
 expenses (including, but not limited to, the fees and disbursements of counsel, third-party
 consultants, including financial consultants, and auditors) incurred by the Prepetition
 Administrative Agent under the Prepetition Credit Agreement arising subsequent to the Petition
 Date. The payment of the fees, expenses and disbursements set forth in this subparagraph 25(e)
 of this Order (including professional fees and expenses of any professionals or advisors retained
 by or on behalf of the Prepetition Administrative Agent) shall be made within ten (10) business
 days after the receipt by the Debtors, the Committee and the U.S. Trustee (the “Review Period”)
 of invoices thereof (the “Invoiced Fees”) (subject in all respects to applicable privilege or work
 product doctrines) and without the necessity of filing formal fee applications, including such
 amounts arising before and after the Petition Date; provided, however, that the Debtors, the
 Committee and the U.S. Trustee may preserve their right to dispute the payment of any portion
 of the Invoiced Fees (the “Disputed Invoiced Fees”) if, within the Review Period, (x) the
 Debtors pay in full the Invoiced Fees, including the Disputed Invoiced Fees; and (y) the Debtors,
 the Committee or the U.S. Trustee file with the Court a motion or other pleading, on at least
 ten (10) days prior written notice to the Prepetition Administrative Agent of any hearing on such
 motion or other pleading, setting forth the specific objections to the Disputed Invoiced Fees.

                 (f)    Sale Proceeds. Following the indefeasible payment in full in cash of all
 DIP Obligations, the full cash collateralization of all outstanding letters of credit issued under the
 DIP Documents and the termination of the Commitments, as additional adequate protection and
 without prejudice to the right of any other party (but subject to the Carve Out and other
 limitations thereon described herein), the Debtors shall pay indefeasibly in cash to the Prepetition
 Administrative Agent, for the benefit of the Prepetition Secured Parties, in permanent reduction
 of the outstanding principal balance of the Prepetition Indebtedness in accordance with the


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 application of payments provisions of the Prepetition Loan Documents, all proceeds from a sale,
 lease or other disposition of the Collateral, after deducting the necessary direct costs of the
 Debtors in connection therewith which are reasonably acceptable to the Prepetition
 Administrative Agent. If there is a dispute concerning whether an expense constitutes a
 necessary direct cost, the amount of such expense shall nevertheless be paid to the Prepetition
 Administrative Agent, and the Debtors and the Committee reserve the right to seek a Court order
 directing reimbursement of such amount. Subject to and as permitted by the DIP Credit
 Agreement, such proceeds: (i) will be paid directly to the Prepetition Administrative Agent; or
 (ii) if received by the Debtors, will be paid by the Debtors to the Prepetition Administrative
 Agent within one (1) business day of receipt of same by the Debtors.

                (g)    Information. The Debtors shall promptly provide to the Prepetition
 Administrative Agent, with a copy to counsel to the Committee and counsel to the Prepetition
 Lenders, any written notice, financial information, periodic reporting or other information that is
 provided to, or required to be provided to, the DIP Agent or the DIP Lenders, and such other
 notice, reports, information and materials as reasonably requested by the Prepetition
 Administrative Agent.

                 Reservation of Rights of Prepetition Parties

                 26.    Under the circumstances and given that the adequate protection is

 consistent with the Bankruptcy Code, this Court finds that the adequate protection provided

 herein is reasonable and sufficient to protect the interests of the Prepetition Secured Parties.

 Notwithstanding any other provision hereof, the grant of adequate protection to the Prepetition

 Secured Parties pursuant hereto is without prejudice to the right of the Prepetition Secured

 Parties to seek modification of the grant of adequate protection provided hereby so as to provide

 different or additional adequate protection, provided, however, that any such additional or

 modified adequate protection shall at all times be subordinate and junior to the Carve-Out and

 the claims and liens of the DIP Agent and the DIP Lenders granted under this Order and the DIP

 Documents.

                 Perfection of DIP Liens and Adequate Protection Liens

                 27.    The DIP Agent and the Prepetition Administrative Agent are hereby

 authorized, but not required, to file or record financing statements, intellectual property filings,

 mortgages, notices of lien or similar instruments in any jurisdiction, take possession of or control


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 over, or take any other action in order to validate and perfect the liens and security interests

 granted to them hereunder. Whether or not the DIP Agent on behalf of the DIP Lenders, or the

 Prepetition Administrative Agent on behalf of the Prepetition Secured Parties shall, in their sole

 discretion, choose to file such financing statements, intellectual property filings, mortgages,

 notices of lien or similar instruments, take possession of or control over, or otherwise confirm

 perfection of the liens and security interests granted to them hereunder, such liens and security

 interests shall be deemed valid, perfected, allowed, enforceable, unavoidable and not subject to

 challenge, dispute or subordination as of the date of entry of this Order. The Prepetition

 Administrative Agent and Prepetition Secured Parties shall not file any such financing

 statements, mortgages, notices of lien or similar instruments, or otherwise confirm perfection of

 the security interests and liens granted thereto hereunder, unless the DIP Agent on behalf of the

 DIP Lenders shall theretofore have done so. The Debtors shall execute and deliver to the DIP

 Agent and the Prepetition Administrative Agent, as the case may be, all such agreements,

 financing statements, instruments and other documents as the DIP Agent and the Prepetition

 Administrative Agent may reasonably request to more fully evidence, confirm, validate, perfect,

 preserve and enforce the DIP Liens and the Adequate Protection Liens. All such documents will

 be deemed to have been recorded and filed as of the Petition Date. Upon entry of the Final

 Order, pursuant to sections 365(e)(2) and (3) of the Bankruptcy Code, any provision of any lease

 or other license, contract or other agreement that requires the consent or approval of one or more

 parties, or requires the payment of any fees or obligations to any governmental entity, in order

 for the Borrower or any Guarantor to pledge, grant, sell, or otherwise transfer any such interest

 or the proceeds thereof or other Collateral, is and shall be deemed to be inconsistent with the

 provisions of the Bankruptcy Code and shall have no force and effect with respect to the




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 transactions granting the DIP Agent for the benefit of the DIP Lenders a senior security interest

 in and lien on such interest or the proceeds of any assignment and/or sale thereof by the

 Borrower or any Guarantor in favor of the DIP Agent for the benefit of the DIP Lender in

 accordance with the terms of the DIP Documents.

                 Preservation of Rights Granted under this Order

                 28.    No claim or lien having a priority senior to or pari passu with those

 granted by this Order or the DIP Documents to the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent and the other Prepetition Secured Parties, shall be granted or allowed

 while any portion of the DIP Obligations (or any refinancing thereof), the Commitments or the

 Adequate Protection Claims remain outstanding, and the DIP Liens and the Adequate Protection

 Liens shall not be subject or junior to any lien or security interest that is avoided and preserved

 for the benefit of the Debtors’ estates under section 551 of the Bankruptcy Code, except for liens

 on proceeds of Avoidance Actions, or subordinated to or made pari passu with any other lien or

 security interest, whether under section 364(d) of the Bankruptcy Code or otherwise.

                 29.    Unless all DIP Obligations and the Adequate Protection Claims shall have

 been indefeasibly paid in full in cash: (a) the Debtors shall not seek, and it shall constitute an

 Event of Default under the DIP Credit Agreement and a termination of the right to use Cash

 Collateral if any of the Debtors seeks, or if there is entered, any modification of this Order

 without the prior written consent of the DIP Agent and the Prepetition Administrative Agent, and

 no such consent shall be implied by any other action, inaction of acquiescence by the DIP Agent

 or the Prepetition Administrative Agent; or (b) it shall constitute an Event of Default under the

 DIP Credit Agreement and a termination of the right to use Cash Collateral if any order is

 entered converting or dismissing any of the Cases. If an order dismissing any of the Cases under




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 section 1112 of the Bankruptcy Code or otherwise is at any time entered, such order shall

 provide (in accordance with sections 105 and 349 of the Bankruptcy Code) that: (x) the

 Superpriority Claims, the Adequate Protection Claims, the DIP Liens and the Adequate

 Protection Liens shall continue in full force and effect and shall maintain their priorities as

 provided in this Order until all DIP Obligations and all Adequate Protection Claims shall have

 been indefeasibly paid in full in cash (and that such Superpriority Claims, Adequate Protection

 Claims, DIP Liens and Adequate Protection Liens shall, notwithstanding such dismissal, remain

 binding on all parties in interest); and (y) this Court shall retain jurisdiction, notwithstanding

 such dismissal, for the purposes of enforcing the claims, liens and security interests referred to in

 clause (x) above.

                 30.    If any or all of the provisions of this Order are hereafter reversed,

 modified, vacated or stayed, such reversal, stay, modification or vacatur shall not affect: (a) the

 validity, priority or enforceability of any DIP Obligations or the Adequate Protection Claims

 incurred prior to the actual receipt of written notice by the DIP Agent or the Prepetition

 Administrative Agent, as applicable, of the effective date of such reversal, stay, modification or

 vacatur; or (b) the validity, priority or enforceability of the DIP liens or the Adequate Protection

 Liens.   Notwithstanding any such reversal, stay, modification or vacatur, any use of Cash

 Collateral, any DIP Obligations, or any Adequate Protection Claims incurred by the Debtors to

 the DIP Agent, the DIP Lenders, the Prepetition Administrative Agent or the Prepetition Secured

 Parties, as the case may be, prior to the actual receipt of written notice by the DIP Agent and the

 Prepetition Administrative Agent of the effective date of such reversal, stay, modification or

 vacatur shall be governed in all respects by the original provisions of this Order, and the DIP

 Agent, the DIP Lenders, the Prepetition Administrative Agent and the Prepetition Secured




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 Parties shall be entitled to all of the rights, remedies, privileges and benefits granted in

 section 364(e) of the Bankruptcy Code, this Order and pursuant to the DIP Documents with

 respect to all uses of Cash Collateral, all DIP Obligations and all Adequate Protection Claims.

                 31.   Except as expressly provided in this Order or in the DIP Documents, the

 DIP Liens, the Superpriority Claims, the Adequate Protection Claims and all other rights and

 remedies of the DIP Agent, the DIP Lenders, the Prepetition Administrative Agent and the

 Prepetition Secured Parties granted by the provisions of this Order and the DIP Documents shall

 survive, and shall not be modified, impaired or discharged by: (a) the entry of an order

 converting any of the Cases to a case under chapter 7 of the Bankruptcy Code, dismissing any of

 the Cases or by any other act or omission; or (b) the entry of an order confirming a plan of

 reorganization in any of the Cases and, pursuant to section 1141(d)(4) of the Bankruptcy Code,

 the Debtors have waived any discharge as to any remaining DIP Obligations or Adequate

 Protection Claims.    The terms and provisions of this Order and the DIP Documents shall

 continue in the Cases, in any successor cases if the Cases cease to be jointly administered, or in

 any superseding chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the Adequate

 Protection Liens, the DIP Obligations, the Superpriority Claims, the Adequate Protection Claims,

 and all other rights and remedies of the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent and the Prepetition Secured Parties granted by the provisions of this Order

 and the DIP Documents shall continue in full force and effect until all DIP Obligations, all

 Adequate Protection Claims and all Prepetition Indebtedness are indefeasibly paid in full in cash,

 and the DIP Commitments have been terminated.

                 Non-Debtor Guarantees




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                 32.    Nothing contained in this Order shall be deemed to terminate, modify or

 release any obligations of any non-debtor guarantors, if any, to the Prepetition Secured Parties

 with respect to the Prepetition Indebtedness owed by the Debtors to the Prepetition Secured

 Parties.

                 Rights and Remedies against Borrowers and Non-Debtor Entities

                 33.    Nothing contained in this Order prevents the DIP Agent or DIP Lenders

 from exercising any and all rights and remedies arising under the DIP Documents (in accordance

 with any notice periods set forth therein) or any applicable law against the Borrowers or any

 other non-debtor entity, including, without limitation, any non-debtor guarantor, and, to the

 extent necessary for the purposes of exercising such rights and remedies, the automatic stay

 arising in these Cases pursuant to section 362 of the Bankruptcy Code in respect of any such

 rights or remedies or any Borrower or non-debtor entity is hereby lifted for all purposes.

                 Effect Of Stipulations on Third Parties

                 34.    The Debtors’ admissions, stipulations and releases contained in this Order

 including, without limitation, paragraph 5 of this Order: (a) shall be binding upon the Debtors

 for all purposes; and (b) shall be binding upon all other parties in interest, including any

 Committee, for all purposes unless: (i) a party (subject in all respects to any agreement or

 applicable law which may limit or affect such entity’s right or ability to do so) has timely and

 properly filed an adversary proceeding or contested matter by no later than February 27, 2009

 (or, in the case of the Committee, 75 days after its appointment), (1) challenging the amount,

 validity, enforceability, priority or extent of the Prepetition Indebtedness or the Prepetition

 Secured Parties’ security interests in and liens upon the Prepetition Collateral, or (3) otherwise

 asserting any claims or causes of action against the Prepetition Secured Parties on behalf of the




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 Debtors’ estates; and (ii) the Court rules in favor of the plaintiff in any such timely and properly

 filed adversary proceeding or contested matter. If no such adversary proceeding or contested

 matter is properly filed as of such dates or the Court does not rule in favor of the plaintiff in any

 such proceeding: (w) the Debtors’ admissions stipulations and releases contained in paragraph 5

 of this Order shall be binding on all parties in interest, including the Committee; (x) the

 obligations of the Debtors under the Prepetition Loan Documents shall constitute allowed claims

 for all purposes in these Cases, and any subsequent chapter 7 case(s); (y) the Prepetition Secured

 Parties’ security interests in and liens upon the Prepetition Collateral shall be deemed to have

 been, as of Petition Date, legal, valid, binding, perfected, first and second priority security

 interests and liens, not subject to recharacterization, subordination or otherwise avoidable; and

 (z) the Prepetition Indebtedness and the Prepetition Secured Parties’ security interests in and

 liens on the Prepetition Collateral shall not be subject to any other or further challenge by the

 Committee or any other party in interest seeking to exercise the rights of the Debtors’ estates,

 including, without limitation, any successor thereto.       If any such adversary proceeding or

 contested matter is properly filed as of such dates, the Debtors’ admissions, stipulations and

 releases contained in paragraph 5 of this Order shall nonetheless remain binding and preclusive

 (as provided in the second sentence of this paragraph) except to the extent that such admissions

 and releases were expressly challenged in such adversary proceeding or contested matter.

 Pursuant to this Order, the Committee shall be deemed to have standing to commence any such

 adversary proceeding or contested matter, provided, however, that nothing contained in this

 Order shall be deemed to grant standing to any other party to commence any such adversary

 proceeding or contested matter.




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                 Limitation on Use of DIP Financing Proceeds and Prepetition Collateral and DIP

                 Collateral

                 35.    The Debtors shall use the proceeds of the DIP Financing and the

 Prepetition Collateral (including the Cash Collateral) solely as provided in this Order and in the

 DIP Documents (including, without limitation, the Budget). Notwithstanding anything herein or

 in any other order of this Court to the contrary, no Loans under the DIP Credit Agreement, DIP

 Collateral, Prepetition Collateral (including the Cash Collateral) or the Carve Out may be used:

 (a) for professional fees and expenses incurred for any litigation or threatened litigation against

 any of the DIP Agent, the DIP Lenders, the Prepetition Administrative Agent or any other

 Prepetition Secured Party or for the purpose of challenging the validity, extent or priority of any

 claim, lien or security interest held or asserted by the DIP Agent, the DIP Lenders, the

 Prepetition Administrative Agent or any other Prepetition Secured Party or asserting any

 defense, claim, counterclaim, or offset with respect to the DIP Obligations or the Prepetition

 Indebtedness or the security interests in or liens on the Collateral or the Prepetition Collateral;

 (b) to prevent, hinder or otherwise delay the DIP Agent’s or the Prepetition Administrative

 Agent’s assertion, enforcement or realization on the Prepetition Collateral or the Collateral in

 accordance with the DIP Documents, the Prepetition Loan Documents or this Order; (c) to seek

 to modify any of the rights granted to the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent or the other Prepetition Secured Parties hereunder or under the DIP

 Documents or the Prepetition Loan Documents; or (d) to pay any amount on account of any

 claims arising prior to the Petition Date, unless such payments are: (i) approved by an Order of

 this Court; and (ii) permitted under the DIP Documents, provided that, notwithstanding anything

 to the contrary herein, no more than an aggregate of $25,000 of the Prepetition Collateral




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 (including the Cash Collateral), Loans under the DIP Credit Agreement, the Collateral or the

 Carve Out may be used by the Committee to investigate the claims and liens of the Prepetition

 Secured Parties.

                 Exculpation

                 36.    Nothing in this Order the DIP Documents, or any other documents related

 to these transactions shall in any way be construed or interpreted to impose or allow the

 imposition upon the DIP Agent or any DIP Lender any liability for any claims arising from the

 prepetition or post-petition activities of the Debtors in the operation of their business, or in

 connection with their restructuring efforts. So long as the DIP Agent and the DIP Lenders

 comply with their obligations under the DIP Documents and their obligations, if any, under

 applicable law (including the Bankruptcy Code), (a) the DIP Agent and the DIP Lenders shall

 not, in any way or manner, be liable or responsible for: (i) the safekeeping of the DIP Collateral;

 (ii) any loss or damage thereto occurring or arising in any manner or fashion from any cause; (iii)

 any diminution in the value thereof; or (iv) any act or default of any carrier, servicer, bailee,

 custodian, forwarding agency or other person; and (b) all risk of loss, damage or destruction of

 the Collateral shall be borne by the Borrower and the Guarantors.

                 Order Governs

                 37.    In the event of any inconsistency between the provisions of this Order and

 the DIP Documents, the provisions of this Order shall govern.

                 Retention of Jurisdiction

                 38.    The Bankruptcy Court shall retain jurisdiction to enforce the provisions of

 this Order, and this retention of jurisdiction shall survive the confirmation and consummation of




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 any chapter 11 plan for any one or more of the Debtors notwithstanding the terms or provisions

 of any such chapter 11 plan or any order confirming any such chapter 11 plan.

                 Binding Effect; Successors and Assigns

                 39.    Subject to Paragraph 34 of this Order, the DIP Documents and the

 provisions of this Order, including all findings herein, shall be binding upon all parties in interest

 in the Cases, including without limitation, the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent and the other Prepetition Secured Parties, the Committee, and the Debtors

 and their respective successors and assigns (including any chapter 7 or chapter 11 trustee

 hereinafter appointed or elected for the estates of any of the Debtors, an examiner appointed

 pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal

 representative of any of the Debtors or with respect to the property of the estate of any of the

 Debtors) and shall inure to the benefit of the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent, the other Prepetition Secured Parties and the Debtors and their respective

 successors and assigns, provided that, the DIP Agent, the DIP Lenders, the Prepetition

 Administrative Agent and the other Prepetition Secured Parties shall have no obligation to permit

 the use of Cash Collateral or extend any financing to any chapter 7 trustee or similar responsible

 person appointed for the estates of the Debtors.

                 Limitation of Liability

                 40.    In determining to make any loan under the DIP Credit Agreement,

 permitting the use of Cash Collateral or in exercising any rights or remedies as and when

 permitted pursuant to this Order or the DIP Documents, the DIP Agent, the Prepetition

 Administrative Agent, the DIP Lenders and the Prepetition Secured Parties shall not: (i) be

 deemed to be in “control” of the operations of the Debtors; (ii) owe any fiduciary duty to the




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 Debtors, their respective creditors, shareholders or estates; and (iii) be deemed to be acting as a

 “Responsible Person” or “Owner” or “Operator” with respect to the operation or management of

 the Debtors (as such terms or similar terms are used in the United States Comprehensive

 Environmental Response, Compensation and Liability act of 1980 or any similar Federal or state

 statute).

                 Master Proof of Claim

                 41.   In order to facilitate the processing of claims, to ease the burden upon the

 Court and to reduce an unnecessary expense to the Debtors’ estates, the Prepetition

 Administrative Agent is authorized to file in the Debtors’ lead chapter 11 case (Chesapeake

 (Case No. 08-36642-DOT)) a single, master proof of claim on behalf of the Prepetition Secured

 Parties on account of any and all of their respective claims arising under the Prepetition Loan

 Documents and hereunder (the “Master Proof of Claim”) against each of the Debtors. Upon the

 filing of the Master Proof of Claim against the Debtors, the Prepetition Administrative Agent and

 each Prepetition Secured Party, and each of their respective successors and assigns, shall be

 deemed to have filed a proof of claim in the amount set forth opposite its name therein in respect

 of its claims against the Debtors of any type or nature whatsoever with respect to the Prepetition

 Loan Documents, and the claim of each Prepetition Secured Party (and each of their respective

 successors and assigns), named in the Master Proof of Claim shall be treated as if such entity had

 filed a separate proof of claim in each of these Cases. The Prepetition Administrative Agent

 shall not be required to amend the Master Proof of Claim to reflect a change in the holders of the

 claims set forth therein or a reallocation among such holders of the claims asserted therein

 resulting from the transfer of all or any portion of such claims.         The provisions of this

 paragraph 41 and the Master Proof of Claim are intended solely for the purpose of administrative




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 convenience and shall not affect the right of each Prepetition Secured Party (or their successors

 in interest) to vote separately on any plan of reorganization proposed in these Cases. The

 Prepetition Administrative Agent shall not be required to file with the Master Proof of Claim any

 instruments, agreements or other documents evidencing the obligations owing by the Debtors to

 the Prepetition Secured Parties, which instruments, agreements or other documents will be

 provided upon written request to counsel for the Prepetition Administrative Agent.

                 No Impact on Certain Contracts/Transactions

                 42.      No rights of any entity in connection with a contract or transaction of the

 kind listed in sections 555, 556, 559, 560, and 561 of the Bankruptcy Code, whatever they might

 or might not be, are affected by the provisions of this Order.

                 Effectiveness

                 43.      This Order shall constitute findings of fact and conclusions of law and

 shall take effect and be fully enforceable nunc pro tunc to the Petition Date immediately upon

 entry hereof.       Notwithstanding Bankruptcy Rules 6004(h), 6006(d), 7062, or 9014 of the

 Bankruptcy Rules or any other Bankruptcy Rule or Rule of the Local Bankruptcy Rules, or

 Rule 62(a) of the Federal Rules of Civil Procedure, this Order shall be immediately effective and

 enforceable upon its entry and there shall be no stay of execution or effectiveness of this Order.

                 Reclamation Claims

                 44.      To the extent that (a) as of the Petition Date, the value of the Prepetition

 Collateral exceeded the amount of the Prepetition Indebtedness, (b) the Prepetition Indebtedness

 has been indefeasibly paid in full in cash and (c) any seller (each, a “Reclaiming Seller”) of

 goods can establish a valid reclamation right under applicable law pursuant to a final order of a

 court of competent jurisdiction, then, following the occurrence of (a), (b) and (c) above, the




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 rights of a Reclaiming Seller to reclaim goods sold to the Debtors pursuant to section 546(c) of

 the Bankruptcy Code shall be deemed preserved and the Debtors shall return goods of the same

 kind to any such Reclaiming Seller, Nothing contained herein shall prejudice, impair or enhance

 any Reclaiming Seller’s right to assert the rights contained in section 503(b)(9) of the

 Bankruptcy Code.

                 Notice and Assurance of Payment to Postpetition Suppliers of Products and

                 Services Asserting State Law Lien Rights

                 45.    The Debtors shall provide notice to their suppliers who may assert they are

 entitled to the benefits of non-bankruptcy statutory liens in respect of products and services

 delivered postpetition that their post-petition non-bankruptcy lien rights, if any, are subject to the

 automatic stay provided by section 362 of the Bankruptcy Code and the provisions of

 section 364 of the Bankruptcy Code, and in any event are and shall remain subject and

 subordinate to the DIP Liens and the Adequate Protection Liens. The Debtors shall provide

 assurance of payment to suppliers of products and services asserting state law or other lien rights

 in the event any such supplier determines to conduct business with the Debtors on a postpetition

 basis.

                 Headings

                 46.    Section headings used herein are for convenience only and are not to

 affect the construction of or to be taken into consideration in interpreting this Order.



 Dated: Richmond, Virginia

 February 3, 2009

                                                            /s/ Frank J. Santoro
                                                       United States Bankruptcy Judge

                                                        Entered on Docket: February 3, 2009

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